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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
                       _____________________________________

BRAIDWOOD MANAGEMENT, INC., et al.,

        Plaintiffs,

v.                                                  Civil Action No. 4:20-cv-00283-O

XAVIER BECERRA, et al.,

        Defendants.


CONSENT MOTION FOR EXTENSION OF TIME TO FILE JOINT STATUS REPORT

        Defendants respectfully request an extension of one week, to September 16, 2022, to file

the joint status report that the court ordered the parties to file in its Memorandum Opinion & Order

of September 7, 2022 (ECF No. 92).

        Defendants are requesting this extension because the undersigned is scheduled to be in

depositions or all-day meetings most days between the date of this filing and September 15, 2022,

and preparing for and attending these engagements will occupy virtually all of the undersigned’s

time through September 15. The parties have conferred and Plaintiffs consent to the relief

requested herein.
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                                                   Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Principal Deputy Assistant Attorney General

                                                    MICHELLE R. BENNETT
                                                    Assistant Branch Director

                                                     /s/ Christopher M. Lynch
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                             Attorneys for Defendants Xavier Becerra,
                      Janet L. Yellen, Martin J. Walsh, and the United States




                                       Certificate of Service


       On September 8, 2022, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties who have appeared in the case

electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Christopher M. Lynch
                                                      Christopher M. Lynch
